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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                NO. 4:13CR00268-06 JLH

AUSTIN H. TAYLOR                                                                  DEFENDANT

                                           ORDER

       The United States has filed a motion to dismiss the indictment against defendant Austin H.

Taylor. The motion is GRANTED. Document #162. The indictment against Austin H. Taylor is

hereby dismissed without prejudice.

       IT IS SO ORDERED this 9th day of February, 2015.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
